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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 
 
                          CIVIL MINUTES – GENERAL
    Case No. SACV 17-02166 AG (JDEx)            Date                      June 19, 2018
    Title      BRUCE FELT v. TEN-X, LLC ET AL.
 
 



    Present: The Honorable       ANDREW J. GUILFORD
              Lisa Bredahl                         Not Present
              Deputy Clerk                  Court Reporter / Recorder           Tape No.
          Attorneys Present for Plaintiffs:            Attorneys Present for Defendants:

    Proceedings:        [IN CHAMBERS] ORDER GRANTING IN PART AND
                        DENYING IN PART DEFENDANTS’ MOTION TO
                        DISMISS

This case concerns the disclosure requirements that a business owes a former employee
regarding stock options granted as a part of an employee compensation package. Plaintiff
Bruce Felt filed this lawsuit against his former employer, TEN-X, LLC, formerly known as
Auction.com, LLC and referred to here as “the Company,” and against some of the
Company’s shareholders and directors referred to as “the individual defendants.” Felt
contends that Defendants failed to disclose all the information that Felt was entitled to before
the exercise period of his stock options expired.

Following the Court’s order granting a stipulation by Felt and Defendants, Felt filed an
amended complaint, referred to here simply as “the complaint.” Now Defendants move to
“dismiss Plaintiff’s First Amended Complaint in its entirety . . . .” (Notice of Mot., Dkt. No.
31 at 1.)

Defendants’ motion is DENIED as to the Company, and GRANTED WITH LEAVE TO
AMEND as to the individual defendants. (Dkt. No. 31.)

1. BRIEF BACKGROUND

The following facts are taken from the complaint unless otherwise stated. As it must, the
Court assumes all factual allegations in the complaint are true for the purposes of this motion.
See Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005, 1014 (9th Cir. 2012).

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Felt is the Company’s former CEO. He worked for the Company from July 25, 2012 until
June 6, 2014. When his employment with the Company ended, he had “fully vested options to
purchase 808,827 of the Company’s incentive common units [or “ICUs”] at a price greater
than $4.76 per unit.” (First Am. Compl., Dkt. No. 21 at ¶ 18) (hereinafter “FAC”.) The
“Confidential Transition and Separation Agreement and Release” between Felt and the
Company provided that Felt would be able to exercise his options until three years from
separation date, so until June 6, 2017. (Id. at ¶¶ 16, 19.) The agreement also provided that the
Company would “provide [Felt] with all of the information it is obligated to provide its
incentive common unit holders under applicable law and agreements . . . .” (Id. at ¶ 22.)

During the exercise period of Felt’s options, the Company gave Felt only two types of
financial information. First, Felt received the Company’s valuation under Section 409A of the
Internal Revenue Code “on an annual basis.” (FAC, Dkt. No. 21 at ¶¶ 32–33.) And second,
the Company sent Felt a “Confidential Disclosure Statement” around June 24, 2015. (Id. at
¶ 35.) The documents placed the value of the Company’s ICUs at or below Felt’s exercise
price of $4.76 per unit. (Id. at ¶¶ 34–35.)

Felt also asked Company employees for information about the value of his options. (FAC,
Dkt. No. 21 at ¶¶ 38–41.) The employees confirmed that the value of Felt’s shares was at or
below $4.76 per unit. (Id. at ¶¶ 39, 41.)

Two or three months before the expiration of Felt’s exercise period, the Company offered its
employees an opportunity to exchange their ICU options for restricted stock units (or
“RSUs”) in the ICUs. (FAC, Dkt. No. 21 at ¶ 56.) The exchange offered was three options for
one RSU. (Id.) The Company did not offer Felt—by then a former employee—the
opportunity to participate in the exchange. (See id. at ¶ 58.)

Felt never exercised any of his options before they expired on June 6, 2017. (See FAC, Dkt.
No. 21 at ¶ 42.) On August 2, 2017, the Company announced that Thomas H. Lee Partners
(or “THL”) had agreed to purchase a controlling interest in the Company for $10.40 per
share.



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Felt then filed this lawsuit, alleging that he would have exercised his options if he had known
the true value of the Company’s ICUs. Felt’s complaint purports to state five claims:
(1) violation of federal securities law; (2) violation of California securities law; (3) breach of
contract; (4) fraud; and (5) breach of fiduciary duty. The first four asserted claims are against
the Company. The fifth asserted claim is brought against Stone Point Capital, LLC, Peter
Mundheim, and Agha S. Khan. Felt alleges that Stone Point “was the controlling equity holder
of the Company” at all relevant times. (FAC, Dkt. No. 21 at ¶ 4.) As for Mundheim and
Khan, they’re members “of the Company’s Board of Directors appointed by Stone Point.”
(Id. at ¶¶ 5–6.)

2. LEGAL STANDARD

Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement of the claim
showing that the pleader is entitled to relief.” With that liberal pleading standard, the purpose
of a motion under Rule 12(b)(6) is “to test the formal sufficiency of the statement of the claim
for relief.” 5B C. Wright & A. Miller, Federal Practice and Procedure § 1356, p. 354 (3d ed.
2004). To survive a motion to dismiss, a complaint must contain sufficient factual material to
“state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007). “[D]etailed factual allegations” are not required. Ashcroft v. Iqbal, 556 U.S. 662, 678
(2009) (citing Twombly, 550 U.S. at 555). A claim is facially plausible when “the plaintiff pleads
factual content that allows the court to draw the reasonable inference that the defendant is
liable for the misconduct alleged.” Id.

In analyzing the complaint’s sufficiency, a court must “accept[] all factual allegations in the
complaint as true and constru[e] them in the light most favorable to the nonmoving party.”
Skilstaf, 669 F.3d at 1014. But the assumption of truth doesn’t apply to legal conclusions. Iqbal,
556 U.S. at 678.

If a court dismisses certain claims, “[l]eave to amend should be granted unless the district
court ‘determines that the pleading could not possibly be cured by the allegation of other
facts,’” Knappenberger v. City of Phoenix, 566 F.3d 936, 942 (9th Cir. 2009) (quoting Lopez v.
Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en banc)), or “if the plaintiff had several
opportunities to amend its complaint and repeatedly failed to cure deficiencies.” Telesaurus
VPC, LLC v. Power, 623 F.3d 998, 1003 (9th Cir. 2010) (citation omitted).
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3. ANALYSIS

            3.1 Stock Options

Since Felt’s asserted claims stem from the stock options he received from the Company, it’s
helpful to briefly explain how stock options work. A stock option is a contract between the
company that issues the stock, or the “issuer,” and the party that holds the option, or the
“optionholder.” Under the contract, the issuer reserves for a limited time called the “exercise
period” an agreed-upon number of shares for the optionholder. During the exercise period,
the optionholder has the right, but not the obligation, to purchase those shares at an agreed-
upon price called the “exercise price,” while the issuer may not sell those shares to anyone
else. For an option to be properly formed, the optionholder must therefore provide some
compensation to the issuer that restricts the issuer’s right to sell its equity.

If the optionholder choses to exercise the options before their expiration, a second contract is
formed. This time, the optionholder pays the exercise price and in exchange, receives equity in
the company. Indeed until an option is exercised, the optionholder doesn’t own any equity in
the company. “Holders of unexercised stock options merely have a contractual right to
purchase an equitable interest in a corporation at some later date.” In re Cendant Corp. Sec.
Litig., 76 F. Supp. 2d 539, 550 (D.N.J. 1999). But like equity units, stock options are securities
under the Securities Act of 1933 (which the Court refers to in this order simply as “the Act”).
15 U.S.C. § 77b(a)(1).

                  3.1.2 Statement of a Claim against the Individual Defendants

Felt contends that Stone Point, Mundheim, and Khan breached the fiduciary duty that they
owed to him in their capacities as controlling shareholders and directors. Since the Company
is a Delaware LLC, the Court looks first to Delaware law. Under Delaware law, directors and
controlling shareholders “owe their corporation and its minority shareholders a fiduciary
obligation of honesty, loyalty, good faith and fairness.” Singer v. Magnavox Co., 380 A.2d 969,
976–77 (Del. 1977), overruled on other grounds by Weinberger v. Uop, 457 A.2d 701, 715 (Del.
1983). That much is well established. Id. But putting aside the parties’ dispute over whether
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Felt sufficiently alleged that Stone Point was a controlling shareholder of the Company, a duty
owed to a minority shareholder who owns equity isn’t necessarily a duty owed to an
optionholder who has no equity. Felt hasn’t cited any authority to support a fiduciary duty
owed to an optionholder. And in fact, the authority the Court has seen supports a finding of
no fiduciary duty. See, e.g., Adrion v. Knight, No. CIV.A. 07-11277-RGS, 2009 WL 3254342, at
*15 (D. Mass. Sept. 9, 2009), report and recommendation adopted in part, rejected in part, No.
CIVA07-11277-RGS, 2009 WL 3152885 (D. Mass. Sept. 28, 2009); Herbal Care Sys., Inc. v.
Plaza, No. CV-06-2698-PHX-ROS, 2009 WL 692338, at *3 (D. Ariz. Mar. 17, 2009); In re
Cendant Corp. Sec. Litig., 76 F. Supp. 2d at 549–50; Glinert v. Wickes Companies, Inc., No. CIV. A.
10407, 1990 WL 34703, at *9 (Del. Ch. Mar. 27, 1990) (unpublished), aff’d, 586 A.2d 1201
(Del. 1990). The Court finds the reasoning in these cases persuasive and likewise concludes
that controlling shareholders and directors don’t owe a fiduciary duty to a holder of
unexercised stock options.

Felt’s complaint is therefore properly dismissed against the individual defendants. But the
Court grants Felt leave to amend his complaint against the individual defendants.

               3.1.3 Statement of a Claim against the Company

Felt asserts four claims against the Company, starting with a federal securities law violation
claim under Section 12(a) of the Act, 15 U.S.C. § 77l. That section provides for the civil
liability of issuers in two ways. First, issuers are liable if they fail to comply with the
registration requirements of the Act. 15 U.S.C. § 77l(a)(1). Second, issuers are liable when they
sell securities using false or misleading statements. 15 U.S.C. § 77l(a)(2).

Felt argues that he has sufficiently pleaded both types of claims under Section 12(a). The
Court begins with his asserted claim for the sale of unregistered securities under Section
12(a)(1).

Section 5 of the Act, 15 U.S.C. § 77e, lays out specific registration requirements that issuers of
securities must follow unless they’re subject to an exemption. One exemption concerns the
offer and sales of securities under “certain compensatory benefits plans,” and is found in
Securities and Exchange Commission (or “SEC”) Rule 701, 17 C.F.R. § 230.701. Here, the
parties agree that Felt’s stock options were issued as part of an employee compensation
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package, a conclusion that may be reasonably inferred from the allegations in the complaint.
(See Mot. Memo, Dkt. No. 31-1 at 15; Opp’n, Dkt. No. 36 at 4; FAC, Dkt. No. 21 at ¶ 18.)

When Rule 701 applies, an issuer may sell unregistered securities. But as relevant here, Rule
701 lists disclosure requirements that an issuer must make. 17 C.F.R. § 230.701(e). Some
apply to all issuers that seek to invoke the Rule 701 exemption. Id. The more burdensome
disclosures, and those involved in this case, only apply “if the aggregate sales price or amount
of securities sold during any consecutive 12-month period exceeds $ 5 million.” Id. When the
issuer has sold over $5 million in the relevant year, the issuer must, for example, provide
financial statements “required to be furnished by Part F/S of Form 1-A,” and the statements
“must be as of a date no more than 180 days before the sale of securities in reliance on this
exemption.” 17 C.F.R. § 230.701(e)(4).

Here, Felt has alleged that, “[u]pon information and belief, the aggregate sales price of
securities sold by the Company during the twelve months prior to June 6, 2017 exceeded . . .
$5 million.” (FAC, Dkt. No. 21 at ¶ 74.) And he alleges that the Company didn’t provide him
with, among other things, its “[f]inancial statements . . . as of a date no earlier than six
months prior to the expiration of [his] options.” (Id. at ¶ 75d.) That’s enough to allege that the
Company didn’t comply with Rule 701. And if the Company didn’t comply with Rule 701, it
couldn’t claim the Rule 701 exemption, and therefore improperly sold unregistered securities.

In short, Felt has stated a claim under Section 12(a)(1). Defendants therefore haven’t shown
that Felt’s complaint “in its entirety” “fail[s] to state a claim upon which relief can be granted”
against the Company, see Fed. R. Civ. P. 12(b)(6), even though Defendants “move this Court
to dismiss Plaintiff’s First Amended Complaint in its entirety and with prejudice.” (Notice of
Mot., Dkt. No. 31 at 1.) “A complaint may be dismissed for failure to state a claim only when
it fails to state a cognizable legal theory or fails to allege sufficient factual support for its legal
theories.” Caltex Plastics, Inc. v. Lockheed Martin Corp., 824 F.3d 1156, 1159 (9th Cir. 2016)
(citing Shroyer v. New Cingular Wireless Servs., Inc., 622 F.3d 1035, 1041 (9th Cir. 2010)); see also
Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 570) (“To survive a motion to dismiss, a
complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief
that is plausible on its face.’”) The Court DENIES Defendants’ motion as to the Company.



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4. DISPOSITION

Defendants’ motion is DENIED as to the Company, and GRANTED WITH LEAVE TO
AMEND as to the individual defendants. (Dkt. No. 31.) Felt may file an amended complaint
within 21 days of this order.

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                                                   Initials of Preparer       lmb




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